979 F.2d 851
    142 L.R.R.M. (BNA) 2384
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.NATIONAL LABOR RELATIONS BOARD, Petitioner,v.SWEETWATER CRAFTS, INC., Respondent.
    No. 92-6275.
    United States Court of Appeals, Sixth Circuit.
    Nov. 13, 1992.
    
      Before BOGGS and SUHRHEINRICH, Circuit Judges, and WELLFORD, Senior Circuit Judge.
    
    
      1
      This Court having April 24, 1991, entered its judgment enforcing in full the backpay provision of the Order of the National Labor Relations Board, the Board, on May 8, 1992, issued its Decision and Order fixing the amount of backpay due the discriminatees and having thereafter applied to this Court for summary entry of a supplemental judgment specifying the amount of backpay due:
    
    
      2
      IT IS HEREBY ORDERED AND ADJUDGED by the Court that Respondent, Sweetwater Crafts, Inc., Manistee, Michigan, its officers, agents, successors, and assigns, shall make whole the individuals named below, by paying them the amounts following their names, with interest to be computed in the manner prescribed in  New Horizons for the Retarded, 283 NLRB 1173 (1987), minus tax withholdings required by Federal and state laws.
    
    
      3
       Richard Schimke      $16,985.35
 Michael Robke        $13,380.34
    
    